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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION (DAYTON)
MICHAEL PENNESSI, et al.,
Plaintiffs,
                                           Case No. 3:17-cv-286
                                           District Judge Walter H. Rice
v.
HANGER PROSTHETICS AND
ORTHOTICS, INC.,
Defendant.
            PLAINTIFFS’ MOTION FOR REFERRAL TO MEDIATION

1.    Now come Plaintiffs and respectfully request this Court to refer this matter to

      mediation

2.    Pursuant to the Parties’ joint RULE 26(f) REPORT OF THE PARTIES, Para. 9:

      “Suggestions as to type and timing of efforts at Alternative Dispute Resolution:

      The Parties believe that mediation may be beneficial, but they would like to

      conduct some discovery first. They believe the case would likely be ready for

      mediation sometime in early 2018. Plaintiffs suggested possible arbitration by

      June 2018. Defendant is not willing to agree to arbitration at this time, but the

      Parties may revisit it later in the case.”

3.    Plaintiff Michael Pennessi is currently unemployed and submits to this Court that

      mediation sooner rather than later in the litigation process, especially versus the

      multi-billion dollar corporate Defendant, may be beneficial in resolving the

      litigation. Plaintiffs request referral by the Court to mediation pursuant to the

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       Southern District of Ohio Supplemental Procedures for Alternative Dispute

       Resolution.

4.     The parties have pursued initial discovery and otherwise are familiar with the

       facts of the case, thus mediation is appropriate at this time.

       WHEREFORE, Plaintiffs request referral to mediation at this time.

                                                  Respectfully submitted,

                                                  ____s/Robert L. Guehl_____
                                                  Robert Guehl (# 0005491)
                                                  2312 Far Hills Avenue
                                                  Dayton, OH 45419
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                               CERTIFICATE OF SERVICE

        I hereby certify that on this January 10, 2018, the foregoing has been filed via the
Court’s electronic filing system. Notice of filing will be performed by the Court’s electronic
filing system, and Parties may access the document through the Court’s electronic filing
system.

                                                  ____s/Robert L. Guehl_____
                                                  Robert Guehl




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